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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

CAROLYN CARPENTER,                               §
                                                 §
     Plaintiff,                                  §
                                                 §
v.                                               §    CIVIL ACTION NO. 3:18-CV-2338-E
                                                 §
BOSTON SCIENTIFIC CORP.,                         §
                                                 §
     Defendant.                                  §


                         ORDER OF ADMINISTRATIVE CLOSURE

         Before the Court is the parties’ Joint Notice of Settled Case and Motion to Stay (Doc. No.

33), in which they inform the Court that they have settled all matters in controversy between

them. The Court GRANTS the motion and vacates all pending deadlines. The Court ORDERS

the parties to file appropriate dismissal papers by September 8, 2020, or if they are unable to do

so, a joint status report. Accordingly, this case is administratively closed for statistical purposes

without prejudice to being reopened to enter a judgment or order of dismissal or for further

proceedings if the settlement is not consummated.

        SO ORDERED.

        Signed July 23, 2020.




                                           Ada Brown
                                           UNITED STATES DISTRICT JUDGE
